Case 23-11131-TMH   Doc 1197-6   Filed 01/23/24   Page 1 of 13




        EXHIBIT 8
                                                          (2 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            2 of1 13
                                                                  of 12




                                FOR PUBLICATION

               UNITED STATES COURT OF APPEALS
                    FOR THE NINTH CIRCUIT

         ANDREW E. ROTH,                                 Nos.    22-16632
                                                                 22-16633
                         Plaintiff-Appellee /
                         Cross-Appellant,               D.C. No. 4:21-cv-
              v.                                          04288-YGR

         FORIS VENTURES, LLC; VALLEJO
         VENTURES TRUST U/T/A 2/12/96;                       OPINION
         L. JOHN DOERR; ANN DOERR;
         AMYRIS, INC.,

                         Defendants-Appellants /
                         Cross-Appellees.

                     Appeal from the United States District Court
                        for the Northern District of California
                   Yvonne Gonzalez Rogers, District Judge, Presiding
                          Argued and Submitted July 17, 2023
                              San Francisco, California
                               Filed November 13, 2023

              Before: KIM MCLANE WARDLAW and MILAN D.
             SMITH, JR., Circuit Judges, and DOUGLAS L. RAYES, *
                                  District Judge.

         *
          The Honorable Douglas L. Rayes, United States District Judge for the
         District of Arizona, sitting by designation.
                                                          (3 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            3 of2 13
                                                                  of 12
         2                  ROTH V. FORIS VENTURES, LLC


                      Opinion by Judge Milan D. Smith, Jr.


                                   SUMMARY **


                                  Securities Law

             The panel affirmed in part and reversed in part the
         district court’s order denying defendants’ motion to dismiss
         a derivative action brought by a shareholder of Amyris, Inc.,
         under § 16(b) of the Securities Exchange Act of 1934, which
         imposes liability for sales and purchases of securities
         between an issuer of securities and a beneficial owner,
         director, or officer of that issuer that occur within six months
         of each other and realize a profit.
             Securities and Exchange Rule 16b-3(d)(1) exempts from
         liability under § 16(b) transactions between an issuer and a
         director where the issuer’s board approves the
         transaction. Agreeing with the Second Circuit, the panel
         held that Rule 16b-3(d)(1) does not require the board of
         directors to approve a transaction for the specific purpose of
         exempting it from liability.
             The panel held that the district court erred by imposing a
         purpose-specific approval requirement. However, the
         district court did not err in finding that the Amyris board was
         aware that defendant John Doerr had an indirect pecuniary
         interest in the challenged transactions when it approved
         them. The panel left it for the district court on remand to


         **
           This summary constitutes no part of the opinion of the court. It has
         been prepared by court staff for the convenience of the reader.
                                                          (4 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            4 of3 13
                                                                  of 12
                         ROTH V. FORIS VENTURES, LLC              3


         address whether defendant Foris Ventures, LLC, a beneficial
         owner of Amyris, was a director by deputation and thus
         eligible for the Rule 16b-3(d)(1) exemption.



                                COUNSEL

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         Commission.
                                                          (5 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            5 of4 13
                                                                  of 12
         4                   ROTH V. FORIS VENTURES, LLC


                                      OPINION

         M. SMITH, Circuit Judge:

             Section 16(b) of the Securities Exchange Act of 1934
         imposes liability for sales and purchases of securities
         between an issuer of securities and a beneficial owner,
         director, or officer of that issuer that occur within six months
         of each other and realize a profit. 15 U.S.C. § 78p(b). The
         statute authorizes the Securities and Exchange Commission
         (SEC) to exempt certain transactions from liability pursuant
         to that section. Id. Pursuant to this authority, the SEC
         promulgated Rule 16b-3, which exempts transactions
         between an issuer and a director where the issuer’s board
         approves the transaction. 17 C.F.R. § 240.16b-3(d)(1).
             The primary question presented in this appeal is whether
         Rule 16b-3 requires the board of directors to approve a
         transaction for the specific purpose of exempting it from
         liability. We hold that it does not. 1
         STATUTORY AND REGULATORY BACKGROUND
             Section 16(b) provides, in relevant part:

                  For the purpose of preventing the unfair use
                  of information which may have been


         1
           This appeal has been held in abeyance as to Amyris since August 14,
         2023, due to the automatic stay imposed by 11 U.S.C. § 362. See Docket
         Entry No. 49. The Clerk will administratively close this appeal as to
         Amyris. No mandate will issue in connection with this administrative
         closure, and this opinion does not constitute a decision on the merits as
         to Amyris. Within 28 days after any change to the automatic stay’s effect
         in this appeal, any party may notify this court and move to reopen the
         appeal as to Amyris or for other appropriate relief.
                                                          (6 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            6 of5 13
                                                                  of 12
                           ROTH V. FORIS VENTURES, LLC                     5


                 obtained by such beneficial owner, 2 director,
                 or officer by reason of his relationship to the
                 issuer, any profit realized by him from any
                 purchase and sale, or any sale and purchase,
                 of any equity security of such issuer (other
                 than an exempted security) . . . within any
                 period of less than six months . . . shall inure
                 to and be recoverable by the issuer . . . .

         15 U.S.C. § 78p(b). This allows securities issuers and their
         shareholders to file suit for disgorgement of profits from
         potentially exploitative transactions between the issuer and
         corporate insiders. Dreiling v. Am. Online, Inc., 578 F.3d
         995, 1001 (9th Cir. 2009). The provision imposes strict
         liability as a prophylactic rule against such abuse. Id.
             However, Congress also granted the SEC the authority
         to make rules exempting certain transactions from liability
         when strict application of Section 16(b) would not serve its
         intended purpose. 15 U.S.C. § 78p(b). Pursuant to this
         authority, the SEC promulgated Rule 16b-3, which exempts
         “[t]ransactions between an issuer and its officers or
         directors,” that are “approved by the board of directors of the
         issuer.” 17 C.F.R. § 240.16b-3(d)(1).           As we have
         recognized, the SEC exempted these transactions because
         they “‘do not appear to present the same opportunities for
         insider profit on the basis of non-public information as do
         market transactions by officers and directors.’” Dreiling v.
         Am. Online, Inc., 458 F.3d 942, 948 (9th Cir. 2006) (quoting
         Ownership Reports and Trading by Officers, Directors and
         Principal Security Holders, Exchange Act Release No. 34-

         2
          A “beneficial owner” is a person or entity that owns “more than 10
         percent of any class of any equity security.” 15 U.S.C. § 78p(a)(1).
                                                          (7 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            7 of6 13
                                                                  of 12
         6                   ROTH V. FORIS VENTURES, LLC


         37260, 61 Fed. Reg. 30376-01, 1996 WL 324486, at *30377
         (June 14, 1996)).
             FACTUAL AND PROCEDURAL BACKGROUND
             Amyris is a publicly traded biotechnology company that
         operates out of California. John Doerr is a member of the
         Amyris board of directors. Doerr and his wife, Ann Doerr,
         are also trustees of Vallejo Ventures Trust (Vallejo), which
         is the member of Foris Ventures, LLC (Foris)—a private
         investment company that owns over 10% of Amyris
         common stock and related derivative securities. Doerr
         indirectly owns all membership interests in Foris.
            Foris and Amyris entered into several transactions
         involving Amyris stock, warrants, and debt between April
         2019 and January 2020. 3 The Amyris board of directors
         approved each of those transactions.
             The following year, Andrew Roth, an Amyris
         shareholder, filed a derivative lawsuit on behalf of Amyris
         against the Doerrs, Foris, and Vallejo, alleging that those
         transactions violated Section 16(b) and seeking
         disgorgement of profits. 4 Defendants moved to dismiss on
         the basis that, inter alia, the relevant transactions were
         exempt from Section 16(b) liability pursuant to Rule 16b-3
         because they were approved by the Amyris board. The
         district court denied the motion. Relying on an SEC no-
         action letter, the district court first opined that Rule 16b-3’s

         3
            The district court determined that Roth adequately pled that the
         transactions constituted purchases and sales pursuant to Section 16(b).
         No party challenges that finding on appeal.
         4
           Roth also sued Barbara Hager, a special trustee of Vallejo and manager
         of Foris, but the claims against her were subsequently dismissed and are
         not at issue in this appeal.
                                                          (8 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            8 of7 13
                                                                  of 12
                          ROTH V. FORIS VENTURES, LLC                7


         exemption covers transactions in which a director has an
         indirect pecuniary interest, such as those between Amyris
         and Foris. See Am. Bar Assoc., 1999 WL 61837, at *2 (Feb.
         10, 1999). However, the district court held that these
         transactions were not exempt because the board did not
         approve the transactions for the specific purpose of
         exempting them under Rule 16b-3.
             The district court subsequently granted a certificate of
         interlocutory appealability on the sole issue of whether Rule
         16b-3 requires a board of directors to explicitly approve
         transactions for the purpose of exempting them under the
         Rule. We granted Defendants’ petition to appeal (as well as
         Roth’s petition to conditionally cross-appeal).
            JURISDICTION AND STANDARD OF REVIEW
             We have interlocutory jurisdiction pursuant to 28 U.S.C.
         § 1292(b). This jurisdiction “permits [us] to address any
         issue fairly included within the certified order because it is
         the order that is appealable, and not the controlling question
         identified by the district court . . . .’” Deutsche Bank Nat.
         Trust Co. v. FDIC, 744 F.3d 1124, 1134 (9th Cir. 2014)
         (quoting Nevada v. Bank of Am. Corp., 672 F.3d 661, 673
         (9th Cir. 2012)). “We review a district court’s decision to
         grant or deny a motion to dismiss pursuant to Rule 12(b)(6)
         de novo.” Camacho v. Bridgeport Fin. Inc., 430 F.3d 1078,
         1079 (9th Cir. 2005); see also Drieling, 458 F.3d at 954
         (reviewing eligibility for Rule 16b-3 exemption to Section
         16(b) liability de novo).
                                 ANALYSIS
                                       I
            Defendants challenge the district court’s holding that, for
         Rule 16b-3(d) to apply, a board of directors must approve a
                                                          (9 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                            9 of8 13
                                                                  of 12
         8                ROTH V. FORIS VENTURES, LLC


         transaction for the specific purpose of exempting it from
         Section 16(b) liability. This is the rare case where all parties
         involved agree that we must reverse. Both Roth and the
         SEC—which filed an amicus brief in this case—
         acknowledge that Rule 16b-3 lacks a purpose-specific
         approval requirement. We agree.
              The district court derived its purpose-specific approval
         requirement from an SEC no-action letter stating that board
         must specify that its approval was “granted for purposes of
         making the transaction exempt under Rule 16b-3.” Am. Bar
         Assoc., 1999 WL 61837, at *2. However, courts generally
         do not defer to no-action letters. See Gryl v. Shire Pharms.
         Grp. PLC, 298 F.3d 136, 145 (2d Cir. 2002) (“SEC no-action
         letters constitute neither agency rule-making nor
         adjudication and thus are entitled to no deference beyond
         whatever persuasive value they might have.”); N.Y.C.
         Emps.’ Ret. Sys. v. SEC, 45 F.3d 7, 12, 14 (2d Cir. 1995)
         (explaining that SEC no-action letters “do not bind . . . the
         courts”). And, in any event, the SEC subsequently
         disavowed the purpose-specific approval requirement in
         amicus briefs filed before both the Second Circuit, see Brief
         of the Securities and Exchange Commission, Amicus
         Curiae, Gryl, 298 F.3d 136 (No. 01-9139), 2002 WL
         32625905, at *24, and our court in this case.
             Rightly so. The text of Rule 16b-3 does not include a
         purpose-specific approval requirement. The Rule states, in
         relevant part, that “[a]ny transaction . . . involving an
         acquisition from the issuer . . . shall be exempt if . . . [t]he
         transaction is approved by the board of directors of the
         issuer.” 17 C.F.R. § 240.16b-3(d)(1). Simply put, nothing in
         the regulation indicates that the board must approve the
         transaction for the specific purpose of exempting it from
         Section 16(b) liability.
                                                         (10 of 13)
Case:
  Case22-16632, 11/13/2023,
       23-11131-TMH     DocID: 12822866,
                            1197-6  FiledDktEntry:
                                          01/23/24 51-1,
                                                     PagePage  9 of
                                                           10 of 1312
                         ROTH V. FORIS VENTURES, LLC                  9


             When presented with this same issue, the Second Circuit
        rejected the argument that Rule 16b-3(d) requires purpose-
        specific approval of a transaction for the exemption to apply.
        Gryl, 298 F.3d at 144–45 (“We find wholly unpersuasive the
        artificial imposition of purpose-specific approval on the
        Board Approval Exemption . . . .”). In so doing, the court
        observed that “the text of the rule itself contains no
        suggestion that [a purpose-specific] requirement exists” and
        “mentions nothing about the subjective motivations of the
        approving body.” Id. at 145. Therefore, the court explained,
        the requirements of the exemption are satisfied “[s]o long as
        the relevant securities transaction is between an issuer and
        insider, and so long as the terms and conditions of that
        transaction receive advance approval by the board of
        directors.” Id. at 145–46. We find this interpretation
        persuasive and hold that Rule 16b-3 does not include a
        purpose-specific approval requirement.
                                       II
            Notwithstanding that Rule 16b-3 lacks a purpose-
        specific approval requirement, Roth argues that this case
        should be remanded for two other reasons. First, Roth
        argues that remand is required to determine whether the
        Amyris board knew about and acknowledged Doerr’s
        pecuniary interest in the challenged transactions when
        approving them. But the district court explicitly found that
        the Amyris board evinced awareness of the existence and
        extent of Doerr’s indirect interest in the transactions. SEC
        regulations define “pecuniary interest” as “the opportunity,
        directly or indirectly, to profit or share in any profit derived
        from a transaction.” 17 C.F.R. § 240.16a-1(a)(2)(i). The
        complaint straightforwardly recognizes that “[Doerr]
        indirectly owns all membership interests in [Foris.]”
        Furthermore, SEC filings show that the Amyris board
                                                         (11 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                           11 10  of 12
                                                              of 13
         10               ROTH V. FORIS VENTURES, LLC


         considered Doerr’s indirect ownership of all of the
         membership interests in Foris when approving the
         transactions. Those filings also include Amyris shares
         owned by Foris in calculating Doerr’s beneficial ownership
         of the company. This is sufficient to establish the board’s
         knowledge of Doerr’s indirect pecuniary interest in the
         challenged transactions. The district court did not err in so
         finding.
              Second, the parties dispute whether Rule 16b-3 exempts
         Foris—a beneficial owner of Amyris—from Section 16(b)
         liability in the first place. Roth argues that because Section
         16(b) imposes liability for transactions between issuers and
         beneficial owners while Rule 16b-3(d) exempts transactions
         between issuers and directors or officers (but not beneficial
         owners), Foris is only eligible for the exemption if it can
         show that it is a “director by deputization.” “[A] corporation
         may be a virtual director, and thus an insider for purposes of
         § 16(b) liability, by deputizing a natural person to perform
         its duties on the board.” Dreiling, 458 F.3d at 952 (citation
         omitted). Because companies may incur Section 16(b)
         liability as directors by deputization, our court has
         recognized that they may also invoke the Rule 16b-3(d)
         exemption where the board is aware of the deputization. Id.
         at 953–54. However, “[w]hether a company is a director by
         deputization is a question of fact to be settled case by case
         and not a conclusion of law.” Id. at 952 (quotation marks
         and citation omitted); see also Strom v. United States, 641
         F.3d 1051, 1060 (9th Cir. 2011) (“[T]he applicability of
         § 16(b) often will turn on factual issues not appropriately
         resolved on a motion to dismiss.”). The district court
         determined that the complaint and the judicially noticed
         documents did not suffice to show that Foris was a director
         by deputization at the motion to dismiss stage. We agree and
                                                         (12 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                           12 11  of 12
                                                              of 13
                           ROTH V. FORIS VENTURES, LLC                  11


         therefore remand the case to the district court for further
         proceedings to determine whether Foris was a director by
         deputization.
              We do not now address the related issue of whether the
         challenged transactions are exempt under Rule 16b-3
         regardless of whether Foris is a director by deputization
         because Rule 16b-3(d) exempts entire transactions, rather
         than specific defendants, from Section 16(b) liability. This
         argument was never squarely addressed by the district court.
         “The matter of what questions may be taken up and resolved
         for the first time on appeal is one left primarily to the
         discretion of the courts of appeals.” Singleton v. Wulff, 428
         U.S. 106, 121 (1976). “As a federal court of appeals, we
         must always be mindful that we are a court of review, not
         first view.” Shirk v. United States ex rel. Dep’t of Interior,
         773 F.3d 999, 1007 (9th Cir. 2014) (quotations and citations
         omitted). Accordingly, we leave it to the district court to
         address this potentially dispositive issue in the first instance.
         See Detrich v. Ryan, 740 F.3d 1237, 1248–49 (9th Cir. 2013)
         (en banc) (“A standard practice . . . is to remand to the district
         court for a decision in the first instance without requiring any
         special justification for so doing.”).
                                CONCLUSION
             The district court erred by imposing a purpose-specific
         approval requirement in its Rule 16b-3(d) exemption
         analysis. However, contra Roth’s argument, it did not err in
         finding that the Amyris board was aware that Doerr had an
         indirect pecuniary interest in the challenged transactions
         when it approved them. Finally, because the issue of
         whether Foris is a director by deputization is a question of
         fact, we remand the case, except as to Amyris, to the district
         court for further proceedings to determine whether Foris was
                                                         (13 of 13)
Case:
  Case22-16632, 11/13/2023,
        23-11131-TMH    DocID: 12822866,
                            1197-6   FiledDktEntry:
                                           01/23/2451-1,
                                                     PagePage
                                                           13 12  of 12
                                                              of 13
         12                ROTH V. FORIS VENTURES, LLC


         a director by deputization. The appeal as to Amyris is closed
         for administrative purposes.
           AFFIRMED IN PART AND REVERSED AND
         REMANDED IN PART.
              The parties shall bear their own costs.
